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                           THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


JERRY CAULDER AND SHERRY CAULDER,

        Plaintiffs,                                     CASE NO.

v.

GC SERVICES, LP,

      Defendant.
_____________________________________/

                                            COMPLAINT

       COME NOW the Plaintiffs, JERRY CAULDER AND SHERRY CAULDER

(“Plaintiff”), by and through their attorneys, KROHN & MOSS, LTD., and for Plaintiffs’

Complaint against Defendant, GC SERVICES, LP, allege and affirmatively state as follows:

                                         INTRODUCTION
        1.        Count I of Plaintiffs’ Complaint is based on the Fair Debt Collection Practices

Act, 15 U.S.C. 1692 et seq. (FDCPA).

                                  JURISDICTION AND VENUE
        2.        Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

        3.        Because Defendant conducts business in the state of Florida, personal jurisdiction

is established.

        4.        Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

        5.        Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.




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                                             PARTIES
       6.      Plaintiffs are natural persons who reside in the City of Mulberry, County of Polk,

State of Florida.

       7.       Plaintiffs are consumers as that term is defined by 15 U.S.C. 1692a(3), and

according to Defendant, Plaintiffs allegedly owe a debt as that term is defined by 15 U.S.C.

1692a(5).

       8.      Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and

sought to collect a consumer debt from Plaintiffs.

       9.      Plaintiffs are informed and believe, and thereon allege, that Defendant is a

limited partnership with headquarters in the City of Houston, State of Texas.

       10.     Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS
       11.     Defendant places constant and continuous collection calls to Plaintiffs in an

attempt to collect upon an alleged debt.

       12.     Defendant calls Plaintiffs at (863) 640-3564.

       13.     Defendant fails to inform Plaintiffs in each and every communication of the

Defendant’s identity. (See Exhibit A).

       14.     Defendant fails to inform Plaintiffs in each and every communication that the

Defendant is a debt collector. (See Exhibit A).

       15.     Defendant has threatened legal action against Plaintiffs by telling them that

Plaintiffs’ obligation for the alleged debt “will hold up in court.”

       16.     To date, Defendant has not filed legal proceedings against Plaintiffs.

       17.     Despite having proper location information for the Plaintiffs, Defendant has

made multiple calls to Plaintiffs’ parents at (863) 687-8787.




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        18.     Plaintiffs’ parents have informed Defendant on repeated occasions that Plaintiffs

cannot be reached at the dialed number.

        19.     Defendant continues to call Plaintiffs’ parents despite this.

        20.     Defendant’s agents tell Plaintiffs’ parents that the calls will continue to be placed

unless a message is left for Plaintiffs.

                              COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                    (FDCPA), 15 U.S.C. § 1692 et seq.

        21.     Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to, the following:

        a)      Defendant violated §1692b(3) of the FDCPA by communicating with third

parties repeatedly in connection with Plaintiffs’ alleged debt.

        b).     Defendant violated §1692d of the FDCPA by engaging in conduct of which the

natural consequence is the abuse and harassment of the Plaintiffs.

        c).     Defendant violated §1692d(5) of the FDCPA by causing Plaintiffs’ telephone to

ring and/or engaging in telephonic conversation with Plaintiffs constantly and repeatedly with

the intent to abuse, harass and annoy.

        d)      Defendant violated §1692d(6) of the FDCPA by calling Plaintiffs and failing to

provide meaningful disclosure of the caller’s identity.

        e).     Defendant violated §1692e(5) of the FDCPA by threatening Plaintiffs with legal

action despite the fact that Defendant has not and does not intend to file legal action against the

Plaintiffs.

        f)      Defendant violated §1692e(10) of the FDCPA by the use of false

representation(s) and/or deceptive mean(s) to collect and alleged debt.




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       g)      Defendant violated §1692e(11) of the FDCPA by failing to inform Plaintiffs in

each subsequent communication that Defendant is a debt collector.

       22.     As a direct and proximate cause of Defendant’s foregoing actions, Plaintiffs have

suffered from emotional distress. (See Exhibit B).


       WHEREFORE, Plaintiffs respectfully pray that judgment be entered against the

Defendant for the following:

       23. Declaratory judgment that the Defendant’s conduct violated the Federal Act, FDCPA.

       24. Actual damages.

       25. Statutory damages pursuant to the Federal Act, 15 U.S.C. 1692k.

       26. Costs and reasonable attorney’s fees pursuant to the Federal Act, 15 U.S.C. 1692k.

       27. Any other relief that this court deems to be just and proper.



                                             RESPECTFULLY SUBMITTED,



                                                By: /s/ Aaron D. Radbil_____
                                                    Aaron D. Radbil
                                                    Krohn & Moss, Ltd
                                                    120 W Madison St, 10th Floor
                                                    Chicago, IL 60602
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                                                    Attorney for Plaintiff
                                                    FBN: 0047117




                                DEMAND FOR JURY TRIAL

    PLEASE TAKE NOTICE that Plaintiffs, JERRY CAULDER AND SHERRY
CAULDER, hereby demand trial by jury in this action.




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                               EXHIBIT A


Please Take Notice that Plaintiff’s Counsel are in Possession of a Recorded
Voicemail Message Left by the Defendant. Said Recording will be produced
                              Upon Request.




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                              EXHIBIT B




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